                                                                Case 2:22-cv-02154-DDC Document 120-15 Filed 09/15/23 Page 1 of 5

                           FY         2020




                                                          ECF
                                                                      PERFORMANCE STANDARD-NURSE                                                                                                          MANAGER
uidance
                                FY


                                          2019 Performance Plan Template




                                                                                                                                                                                     1




                                                                                                                                                                                                                                              2
                                                                                                                              will                   address                                     Strategic               Intent                   Demonstrate
      and




                   3




                                                                              of

                                                                                         the



                                                                                               5
                               Integrity within                        each                        critical                   elements                                   reflecting supervisory                                               core qualifications

                                                                              Critical




                                                                                   Non
                                                                              critical

e Standard                                                                    Element                Fully Successful                                                                                           Exceptional




                                                                                                                                                of
                                                                                                    Submission                                                     best




                                                                                                                                                            one
                                                                                                                                    for
                                                                                                                                                 yellow belt




                                                                                                                                                                                           or
                                                                                                    practices
                                     an




implements




                                                                                                                         in
                                           organizational                                           Assist                         remediating
                   key




grates                         program              goals
                                                                                                                                                                                                                       plus documented




                                                                                                                                                                                                                FS
                                                                                                    underperforming services                                                                                                                              sustained




                                                                                                                                                                                                                                                                        or
      and




                                                     by




s             other                  factors                                                        Uses data




                                                                                                                                         to
                                                          establishing                                                                           assist with                     team




                                                                                                                                                                                                                                                                   of
                                                                                                                                                                                                           meaningful                    improvement
                                to




t practices                               address                     more
                                                          two




                                                                 or




                                                                                                                                                     and
                                                                                                    Assignments                                                   workload                                 implemented
                                                                              Critical              Distribution                                                                                           adopted
                                                                                                                                                                                                           replicated                                     best   practice
              to




adjust                   changing                  situations

ational improvements


    environment that encourages
                                             and




g    collaboration                                   transparency
    program focus
                                                                                                                                                                         and




                                                                                                                                                                                     HRO




                                                                                                    Discuss                                                                                          at




                                                                                                                                                                                                            FS
                                                                                                                              Just Culture




                                                                                                                                                                                                                                         to
                                                                                                                                                                                                                      plus able                 demonstrate
nization movement                                   of'Just

                                                                                                                                                                                                                how
                                                                                                    staff meetings
                                                                                                                                                                         a




                                                                                                                                                                                                                         HRO




                                                                                                                                                                                                                                                            in
                                                                                                                                                      twice                    year




                                                                                                                                                                                                                                   was
                                                                                                                                                                                                                                               utilized          decision
as




                                               a




      demonstrating
                                                                                                                                                                   and




                                                     High                                           include-case




                                                                                                                                                                                                                                                  andor
                                                                                                                                                study                          decision                    making process
                         HRO




ization                                                                                            tree
                                                                                                                                                                                                           disciplinary actions


                                                                                                   Staff
                                                                                                                   can




                                                                                                                               verbalize                                 clear
                                                                                                                                                                   a
                                                                                                                                                           of




                                                                                                   understanding                                                  whole          health
                                                                                                     and




                                                                                                                              of
                                                                                                             use




                                                                                                                                    appropriate consults
                                                                                                    for




                                                                                                            WHS




                                                                                                                                   WHS




                                                                                                                                                                                                to




                                                                                                                                                                                                           FS




                                                                                                                                                      consult                  data                                   Plus produce               trended         data
                                                                                                    be




                                                                                                                                          and




                                                                                                           tracked                                     trended
                                                                                                                                                                                to




                                                                                                                                                                                                                        monitor
                                                                                                                                                                                                                                          to




                                                                                                                                                                                                           with                                 appropriateness
ole         Health Standards
                                                                                                                                                                                                           of




                                                                                                   utilization                                                                                                        consults




                                                                                                                                                                                                                        EXHIBIT


                                                                                                                                                                                                                               N
                                            Case 2:22-cv-02154-DDC Document 120-15 Filed 09/15/23 Page 2 of 5




                                                              Critical




                                                               Non
                                                              critical

 andard                                                       Element      Fully Successful                                                                                Exceptional



                                                                         Self-demonstrate                                             ICARE values




                                                                               by




                                                                                                                                             and




                                                                                                                                                                     to
                                                                                     being engaged                                                       visible
 VA




       Core Values Creates




                                                                                                                           and
                                                                                                                                              document
                                             an




                                                                         staff Will hold




                                                                                                                                                                           FS
                                                                                                                                                                                 Plus Will conduct bi-weekly
               all




 at ensures                employees         clearly                     monthly staff meetings




                                                                                                                                                                                                                       And
                                                                                                                                                           will           staff meetings                                          submit
                     and




                              the




 Core Values




                                                                                                         and
                                         requirement                     review




                                                                                                                                                                                                          to
                                                                                                                       analyze consult                             data   strategies                                overcome         obstacles
 them                        Commitment
                                                                          to




                                                                                                                                                   and
          Integrity                                                                 ensure accuracy




                                                                                                                                                                           FS




                                                                                                                                                                                                               to
                                                                                                                                                                                 changed                             bi-weekly             staff
                            I




 ect Excellence                     CARE


                                                                                                                  of
                                                              Critical   timeliness                                     consults                                          meetings

arning environment through
                                                         to




hing   development plans                     access




                                                                                                                                                                          FS
                                                                                                                                                                                 Plus timely resolutions




                                                                                                                                                                                                                                             of


                                                                                                                                                                                                                                                       any
                             of




mely completion                     mandatory




                                                                                                                                                                           EOC
                                                                                                                                                                                          findings with                      deadlines
                                                                                                                          in


                                                                                                                                       EOC
                                                                         will            participate                                                     rounds           given
                                                                          AES




                                                                                                                                 of




                                                                                                                                                          3
                                                                                                                                                   top




                                                                                         data                  sharing                                        areas
                                                                                                   to




                                                                                                                                      and




                                                                         noted
                                                                                                                                                                          FS

                                                                                                             improve                                     increase                Plus make improvement




                                                                                                                                                                                                                                                  of
                                                                                                        of




                                                                                                                                                                          4



                                                                                                                                                                                                     of
                                                                                                                  metrics Develop
                                                                                                                                                                                               2

                                                                                                                                                                                                           3
                                                                         sharing                                                                                   plan
                                                                                                                                                                                 on


                                                                                                                                                                                                                    areas implemented
                                                                                    show
                                                                         to




                                                                                                                                                              of


                                                                                                                                                                   1


                                                                                                                                                                          by


                                                                                                                                                                                      9
                                                                                                             an




                                                                                                                   improvement                                                                                        documented
                                                                                                                                                                                      30 20




                                                                                                                                                                                                          with

agement
                                                                         of


                                                                                    FY


                                                                                              19




                                                                                                        Baseline


                                                                                                                                                                                                                      FY


                                                                                                                                                                                                                             18
                                                                                                                                                                          successes                  from                         baseline

oyee Performance
                                    to




                                                    at




                                         practice
                                             and




 certification
                       or




                                                                          80



                                                                                         of




                                                                                                                                                                                          of




                            training
                                                                                                                                                                          90




                                                                                                                                                                                               all




                                                                                                    proficiencies                                  appraisals                                         proficiencies



                                                                                                                                                                                                                                     are
 waste
                                                                         are




                                                                                     completed                           timely                                           completed                       timely
ustomer experience
                                                Case 2:22-cv-02154-DDC Document 120-15 Filed 09/15/23 Page 3 of 5


                                                             Critical




                                                                Non
                                                             critical

e Standard                                                   Element         Fully Successful                                                                                            Exceptional

                                                                                                         documents




                                                                                                                                                         and
                                                                             Identifies
                                           of


                                                 the




                                                              Non
      will       take
rs




                                                                                                                                           in
                          ownership                                                                                                                                                                     Plus makes measurable




                                                                                                                                                   at




                                                                                                                                                                                  1

                                                                                                                                                                                         FS
                                                                             implements efforts                                                                least
                  of




                        influence




                                                                                            to
  areas




                                                                                                                                                                                                                     in
                                                            Critical     area                     improve




                                                                                                                                                                                                                                                             in

                                                                                                                                                                                                                                                                       2
                                                                                                                          efficiency                                                    progress                          efficiency                                       areas



                                                                         Service                  will    conduct                           random                                      Service                 will      conduct                       random




                                                                                                                     of




                                                                                                                                                                10



                                                                                                                                                                                  of
                                                                         consult




                                                                                                                               at




                                                                                                                                                                                                                                 of
                                                                                                  audits                                   least




                                                                                                                                                                                                                                           at




                                                                                                                                                                                                                                                                       10



                                                                                                                                                                                                                                                                                      of
                                                                                                                                                                                        consult                 audits                                 least
           and




                                 of




acy                                                                     volume




                                                                                                                                                                                  of
                       Quality        Clinical                                                    with                                                                                  volume with




                                                                                                                an




                                                                                                                                                                                                                                                                                      of
                                                                                                                          accuracy rate




                                                                                                                                                                                                                            an
                                                                                                                                                                                                                                      accuracy rate


                                                                              80



                                                                                            to




                                                                                                                                                                                             90
                                                                                                 performance                                    standards




                                                                                                                                                                                                         to
                                                                                                                                                                                                               performance                                  standards




                                                                                                                                           be
                                                                        Labor mapping




                                                                                                                                                                                                                                                       be
                                                                                                                     will                                                               Labor mapping                             will




                                                                                                                                      80



                                                                                                                                                         of


                                                                                                                                                                the
                                                                        completed




                                                                                                                                                                                                                                                  90



                                                                                                                                                                                                                                                                  of


                                                                                                                                                                                                                                                                           the
                                                                                                          timely                                                                        completed                         timely
                                                                        time                                                                                                            time
                                                                             OT




                                                                                         reports submitted timely




                                                                                                                               to




                                                                                                                                                                 90



                                                                                                                                                                                   of
                                                                        with justification                                                 need
                                                                             the




                                                                                         time
                                                                                                     NM




                                                                                                                will            update


                                                                                                                                                   and
                                                                        staffing                  methodology




                                                                                                                                                                      for
                                                                                                           to




                                                                        staffing                 tool                justify                      need




                                                                                                                                                                                        FS
                                                                             any




                                                                                                          adjustments                                                                              Plus actions                                 decrease




                                                                                                                                                                                                                                      to




                                                                                                                                                                                                                                                                                 OT
                                                                                          staffing
                                                                             NM




                                                                                          will    develop
                                                                                                                           an
                                                                                                                     of


                                                                                                                                the




                                                                        understanding                                                             budget
                                                                        tool




                                                                                                                                                                                                                be




                                                                                                                                                                                                                                      to
                                                                                                                                                                                                        will              able
                                                                                                                                                                                        NIVI                                                    manage
                                                                                                                          of




                                                                                                                                                                 is




                                                                        Clarified
                                                                                                                                                                            to




                                                                                                                                                                                                                                            and
                                                                                                  control                             budget                                            budge                 effectively
                                                                        work performance-found
                                                                                   OT




                                                                                                                                                                                        demonstrate fiscal responsibility
                                                                                                                                                                             on
      CC




er               Consults                                               budget share point site




                                                                                                                                                                                                                                                  of
                                                                                                                                                                                        with             authorization                                      consults
                                                                                                                                                                                        2
                                                                                                                                                                                                  UBC




                                                                                                                                                                                                                                                  be


                                                                                                                                                                                                              projects           will

      highly functional                team with
  a




                                                                                                                                                                                        implemented within depart
                           and




al coalitions
                                                       to




                                                                                                                                            UBS




                                 partnerships                           Unit Based                   councils                                                  will                     With demonstrated positive
 less Veteran
                                                                        be




                             experience                     Critical                             functional                    within                                                   outcomes
                                                                                        fully                                                                  dept
                                                     Case 2:22-cv-02154-DDC Document 120-15 Filed 09/15/23 Page 4 of 5




                                                                                                                                                                                           FS




                                                                                                                                                                                                                                             the




                                                                                                                                                                                                                                                                            of
                                                                                                                                                                                                 Plus assess




                                                                                                                                                                                                                                                                                                CC
                                                                                                                                                                                                                                                         health




                                                                                                                                                                                                                   and
                                                                                                                                                                                     program                                        authorization

                                                                                   Facilitates                 smooth




                                                                                                     a




                                                                                                                                                                                                                         to




                                                                                                                                                                                                                                                                                 Are
                                                                                                                                                 transition                              processes                                 ensure auth




                                                                                                                                                                 for
                                                                                   from TriWest




                                                                                                                     to




                                                                                                                                                                              all




                                                                                                                                                                                                                                        to
                                                                                                                               Opturn                                                entered                  prior                                care     rendered
                                                                                   Community Care Consults                                                                           Measured with retro




                                                                                                                                     CCN




                                                                                                                                                      is
                                                                                   Ensure adequate




                                                                                                                                                                                                                                              10
                                                                                                                                                                                    authorizations




                                                                                                               and




                                                                                                                                                                                                    is
                                                                                   established




                                                                                                                                                                a




                                                                                                                                                                                                                                                                           is


                                                                                                                                                                                                                                                                                            10
                                                                                                                               provide                                      plan    Gaps                 specialty                                 services




                                                                                    to
                                                                                         minimize gaps




                                                                                                                            in
                                                                                   Will   participate                                                                               Develop process changes that
               and




rnal
                                                                  to




                      external         stake         holders
                                                                                   interdisciplinary teams




                                                                                                                                                           to




                                                                                                                                                                                                                                         by




                                                                                                                                                                                                                                                                                  andor
                                                                                                                                                                                    were adopted                                                   internal
                                                      and




                                                            CCN




es within              local




                                                                                                                                                                        of
                                 capacity                                          ensure smooth                          transition                                                external                  customers                                  with




                                                                                                                                                                       in
                                                                                   veteran    care              needs from                                                          evidence based                                           data                    show




                                                                                                                                                                                                                                                           to
     CC




                                                                                                                                    CC
               operations                                                          house services




                                                                                                                       to
                                                                                                                                                 services                           impact




                                                                        Critical
                                                                         Non




                                                                        critical

  Standard                                                              Element    Fully Successful                                                                                 Exceptional
                                                                                                      in




                                                                                                                                                                                                                         in
                                                                                   Participate                                                                                                                                 Team




                                                                                                                                                                                                                                                                                       to
                                                                                                                     Quality                                                        Participate                                                          specific
                                                                                                                     team


                                                                                                                                                                                     CC
                                                                                   Improvement




                                                                                                                                                                                                                                             and
                                                                                                                                            initiative                                          department                                               achieving
                               and




                                                                   of




 overall             value                 effectiveness                                             movement
                                                                                                                                                 to




                                                                                                                                                                                    movement




                                                                                                                                                                                                                         to




                                                                                                                                                                                                                                                                                 for
                                                                                   achieving                                                               next                                                                     next quarter
                                                                                               for




                                                                        Critical   quartile           that                  domain                                                  that          domain

Measures
                                to




                       PIVI           include
                                                        pending                                                                                                                     Will         demonstrated education
ours
                                           to




                                                                   in




                                                scheduled
               or




                     less   active
                                                                                                                                                                                     and




                                                                                                                                                                                                 improved                           outcome                          reflected
om entry date
                                30




                                      days from entry


                                                                                                                                                                                                                                             of
                                                                                                                                                                                    from education




                                                                                                                                                                                                                                                                                in


                                                                                                                                                                                                                                                                                                PM
                                                                                                                                                                                                                                                    services
                                     and




d appointment
                                                90




                                                     days from
                                                                                                      of


                                                                                                                      PM




                                                                                                                                                                                     and




                                                                                                                                                                                                 decrease number




                                                                                                                                                                                                                                                                of


                                                                                                                                                                                                                                                                      DC


                                                                                                                                                                                                                                                                                          due
                                                                                   Monitoring                                       data              with
          of




se             consult       with records
                                                                                              of


                                                                                                     DC




                                                                                                                                                      with
                                                                                                                                                                                    to




                                                                                   analysis                          consults                                                                   anything other than closed
dexed                                                                              reason codes                                                                                     with          records
                                                                                              PM



                                                                                                          of




                                                                                   Consult                           Pending                           Active
                                                                                                      and




                                                                                   Scheduled                          Closed

                                                                                   processes assessed
                                                                                                                                           to




                                                                                                                                                  achieve
                                                                                   CC




                                                                                                                          of


                                                                                                                                     10




                                                                                                                                                                                    FS




                                                                                                     rate                                                                                       Plus
                                                                                                                                                                                                         CC




                                                                                         depart                                                                                                                     Dept                                  achieve
                                                                                                                                                                                                                                                                                           a


                                                                                                                                                                                                                                                  will


                                                                                   improvement over baseline
                                                                                                                                                                                                                               25




                                                                                                                                                                                                         than
                                                                                                                                                                             or




                                                                                                                                                                                    greater                                                        improvement
                                                                                                                               of


                                                                                                                                            90




                                                                                   maintain                                                                                         over baseline
                                                                                               a




                                                                                                                                                            or




                                                                                                     score                                                                                                                                   maintains
                                                                                                                                                                                                                                   or




                                                                                                                                                                                                                                                                           a
  CC




               operations
                                                                                                                                                                                                   of


                                                                                                                                                                                                              95




                                                                                   better
                                                                                                                                                                                                                              or




                                                                                                                                                                                    score                                                greater
                                Case 2:22-cv-02154-DDC Document 120-15 Filed 09/15/23 Page 5 of 5




                                                  CC




                                                                                                       FS




                                                                                                                   CC
                                                           Department          will                         Plus         Department         will




                                                                                                                                                     and
                                                                                                                                           meet




                                                                                                  to




                                                                                                                                      to
                                                 demonstrate                improvement                demonstrate        ability




                                                                   all




                                                                                      for




                                                                                                                                               for
                                                                                                                   the




                                                                                                                                set




                                                                                                                                                           all
                                                 ensure                  Request            Services   exceed            VISN         goals
of




                           by




                                                     RFS




                                                                                                 7



                                                                                                       CC
     referral timeliness                                                 addressed within                   Consult      Management




                                                             are
                                improving




                                                            of
ment                                             days              receipt                             performance        metrics




ee                                            Date
